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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

BARBARA A. SPENCER,                 )
                                    )                Case No. CV-07-197-S-BLW
          Plaintiff,                )
                                    )                ORDER OF DISMISSAL
     v                              )                WITH PREJUDICE
                                    )
CAPITAL ONE BANK, CAPITAL ONE )
SERVICES, INC., and STONEBRIDGE     )
BENEFIT SERVICES, INC.,             )
                                    )
          Defendants.               )
___________________________________)

       Pending before the Court is the parties’ Stipulation of Dismissal with

Prejudice (Docket No. 36) filed April 28, 2008. The Court having considered the

pleadings, shall approve the Stipulation, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(ii).

       IT IS HEREBY ORDERED THAT this case is DISMISSED, with

prejudice, and each party shall bear its own costs and attorneys' fees.

                                       DATED: April 29, 2008



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court

Order of Dismissal - 1
